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UNITED STATES DISTRICT COURT |
SOUTHERN DISTRICT OF NEW YORK ~

Malik L. BROWN oe

No.

 

Write the full name of each plaintiff. , _ {To be filled out by Clerk's Office)
50 atAchao! SO
‘ againist- COMPLAINT

STEPHEN ORAANSK| Fro

Do you want a jury trial?

JASaw YONES _ Yes (No
SCREPL DEACON
MARK DELRIANCO

Write the full name of each defendant. if you cannot fit the
names of all of the defendants in the space provided, please
write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The
names listed above must be identical to those contained in
Section IV.

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full soctal security number or full
birth date; the full name of a person known to be.a minor; ora complete financial account
number. A fiting may include on/y: the iast four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

Rev. 5/6/16

 

 
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I, LEGAL BASIS FOR CLAIM

~ State below the federal legal basis for your claim, if known. This form is designed primarily for

prisoners challenging the constitutionality of their conditions of confinement; those claims are

often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or ina
“Bivens” action (against federal defendants).

[WViolation of my federal constitutional rights -
C1 Other:

 

IE. PLAINTIFF INFORMATION |

Each plaintiff must provide the following information. Attach additional pages if necessary.

MAK BROWN

First Name ‘Middle Initial Last Name

 

State any other names (or different forms of your name) you have ever used, including any name
you have used in previously filing a lawsuit.

toMnop

Prisoner ID # (if you have previously been in another agency’s custody, please specify each agency
and the ID number (such as your DIN or NYSID} under which you were held)

Mipsrate CORRECTIONAL FACIL ety

Current Place of Detention

B.0 Boy 2500

Institutional Address

MARCY , NEWYORK 14402

County, City State Zip Code
I. PRISONER STATUS

Indicate below. whether you are a prisoner or other confined person:

CL] Pretrial detainee

Ll Civilly committed detainee

C] Immigration detainee

WW Convicted and sentenced prisoner
.O Other:

 

Page 2

 

 
 

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Detendant | Og ANTHONY ANNO)

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Alban NES YORK _1222lo~2050_

 
 

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IV. DEFENDANT INFORMATION

~ To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to those listed in the caption. Attach
additional pages as necessary.

Defendant 1: IEP LEN ORBANSK | Shield #
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Cee IFAT MAN CASSA RY fb. Bolas”

 

 

rrent Work Address
Barn Ry 1B503 -
County, City State Zip Code
Defendant 2: TSA Yu NE S
First Name "Last Name _ Shield #

CORRECTIONAL OFLL CER

Current Job Title (or other identifying information)

CF.C-£) 29] MaHeauan RA Po. pov Odd

 

 

Current Work Address
Woy laxoS
County, City State Zip Code
Defendant 3: —) OBER DEACON
First Name Last Name * Shield #

CORACTIONS CERGEANT

Current Job Title (or other identifying information)

Eck 271 Mateaian Rol 20.Ayx (YS

Current Work Address

 

 

Keacpn Wy 10508
, County, City State Zip Code
pendants MARK TNELBIANCO __

CORRECTIONAL OFFICER

» Current Job (or other nae information)

CY, Sate Matte LOAN 20, Box ays
keace NY [AS O8 |

County, oO State Zip Code

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V. STATEMENT OF CLAIM

Place( (s) of occurrence: +. VOPR ALL Coperct onal ee wir 24" Kl YARID
Date(s) of occurrence: Sl NE. ang Q0 QO

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and how each defendant was personally involved i in the alleged wrongful actions. Attach
additional pages as ate

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If you were injured as a result of these actions, describe your injuries ” what medical treatment,
if any, you required and received.

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State briefly what money damages or ther relief you want the court to order.

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VIL. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by a nonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

Tunderstand that if I file three or more cases while Iam a prisoner that are dismissed as
frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis status in
future cases.

l also understand that prisoners must exhaust administrative procedures before filing an action
in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
dismissed if I have not exhausted administrative remedies as required.

T agree to provide the Clerk's Office with any changes to my address. I understand that my
failure to keep a current address on file with the Clerk's Office may result in the dismissal of my
case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

MALIK lL eRowh"

FirstName — Middle initial Last Name

MINSTAE. CoRRECrioMLAacILity. RO Roy BS0O

Prison Address

MARCY _ NEN YORK 45403

. County, City State Zip Code

Date on which | am delivering this complaint to prison authorities for mailing: I2-A0 -20

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Maik L Beonn

{full name of the plaintiff or petitioner applying (each person
must submit a separate application)

CV C€ )C )

~against- , {Provide docket number, if available; if filing this with
: your complaint, you will not yet have a docket number.}

STEPIEN URRANSK |, ISSA YOUNES,
“tes Seo EM LAR DEIR IINCO
NIDAN WALSH DAOIELIE CRON) fitreny Aroocey

(full name(s) of the defendant(s})/respondent(s))

 

2"

APPLICATION TO PROCEED WITHOUT PREPAYING FEES OR COSTS

Tam a plaintiff/ petitioner in this case and declare that I am unable to pay the costs of these proceedings
and I believe that I am entitled to the relief requested in this action. In support of this application to
proceed in forma pauperis (IFP) (without prepaying fees or costs), I declare that the responses below are
true: - .

1. Are you incarcerated? oA ves [] No (lf “No,” go to Question 2.) __.
Iam being held at: Mi toast CORRECTIONAL FACILITY

Do you receive any payment from this institution? [] Yes [B-No

Monthly amount:

If fam a prisoner, see 28 U.S.C, § 1915(h), I have attached to this document a “Prisoner Authorization”
directing the facility where I am incarcerated to deduct the filing fee from my account in installments
and to send to the Court certified copies of my account statements for the past six months. See 28
U.S.C. § 1915(a){2), (b). | understand that this means that I will be required to pay the full filing fee,

2. Are you presently employed? [] Yes Li-No

If “yes,” my employer's name and address are:

 

Gross monthly pay or wages: MA
f

If “no,” what was your last date of employment? “4

>

Gross monthly wages at the time:

 

3. In addition to your income stated above (which you should not repeat here), have you or anyone else
living at the same residence as you received more than $200 in the past 12 months from any of the
following sources? Check all that apply.

(a) Business, profession, or other self-employment . [] Yes ry? No
(b} Rent payments, interest, or dividends f] Yes La No

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(c) Pension, annuity, or life insurance payments [] Yes (No
(d) Disability or worker's compensation payments . EJ Yes
(e) Gifts ot inheritances A’ Yes [.] No
(f) Any other public benefits (unemployment, social security,

food stamps, veteran's, etc.) . Li Yes a No
(g) Any other sources LE] Yes [No

If you answered “Yes” to any question above, describe below or on separate pages each source of

money and state the Sent Me that you received wd what you expect to receive in the fu
Bonk eR eM OOS 00 warps f Ov any bie Lal Of

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If you answered “No” to all of the questions above, explain how another are ver ach fi your XO :00

4. How much money do you have in cash or ina oe DO, or inmate account?
ay WANs NO 1 -Anpee 83 = ( soar
We ERI Foes

0 Or Money Serv \O teal estate, a bond, security, trust,. hid OC art work, or other
financial instrument or thing of value, including any item of value held in someone else’s name? If so,
describe the property and its approximate value: N 0

6. Do you have any housing, transportation, utilities, or loan payments, or other regular monthly
expenses? If so, describe and provide the amount of the monthly expense: NM 0D

 

7. List all people who are dependent on you for support, your relationship with > aie and how
much you contribute to their support (only provide initials for “ee “ata er 1

CM-34 SOC ™-
TM-S1Ste- MORAN Pawo ~ MAMET | i
8. Do you have any debts or financial obligations not described above? If so, describe the amounts owed

and to whom they are payable: //f 3 L Owe. ays sito the, covyt af t

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fed ? & Deca I declare under Vestry jury that the above information is te T understand that a false

Stn 83 statement may result in a dismissal of my claims.
“nt * Aa
sin ek RROWN MALIK L TbAlOOO

Name {Last, First, MI} Prison Identification # {if incarcerated)

Po, Box 8500 MARCY IVY _1SYO3-02kb
(31D) 7b8- 8SR | “wy dde03-wY, gov

Telephone Number E-mail Address (if available}

  
 

 

 

IFP Application, page 2

 

 
 

 

 

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MID-STATE CORRECTIONAL FACILITY.
P.O. BOX 2500

MARCY ,.N MUL 13403
NAME: VA

  

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